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                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA

GOLD CREST,LLC,a California LLC,                                   CASE NUMBER

                                                     Plaintiffs)                      2:19-~v-6982-RGK (Ex)
                                  v.
PROJECT LIGHT,LLC, an Ohio LLC;and DOES                                           /~~~
                                                                         ('P      OSED)ORDER ON REQUEST FOR
1-10 inclusive;                                                                APPROVAL OF SUBSTITUTION OR
                                   Defendants)
                                                                                WITHDRAWAL OF ATTORNEY

    ~w ~ The Court hereby orders that the request of:

Project~Light, LLC                                ❑Plaintiff ❑x Defendant ❑Other
                      Name ofParty

to substitute Enoch Liang and Dat Nguyen of LTL ATTORNEYS LLP                                                       who is

          ❑
          x Retained Counsel           ~ Counsel appointed by the Court(Criminal cases only)              ❑Pro Se

300 South Grand Ave., 14th Floor
                                                             Street Address
       .. .Los Angeles, CA 90071                                                enoch.liang@ltlattorneys.com
                             City, State, Zip                                                 E-Mail Address

         -42T3-612-8900                             213-612-3773                              212324;280755
                      Telephone Number                       Fax Number                                State Bar Number

as attorney of record instead of Kevin G. McBride and Brock F. Wilson of Akin Gump Strauss
                                                   List all attorneysfiom samefirm or agency who are withdrawing.
Hauer &Feld LLP



is her~~y             ~1 GRANTED            ❑DENIED

The clerk is hereby ordered to terminate Notices of Electronic Filing for the withdrawing attorneys) in this case.



              Dated       ~' ~ ~ ~ ~9
                                                                      U. S. Distr' Judge U.S. Magistrate Judge



G-Ol ORDER (09/17)           (PROPOSED)ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF ATTORNEY



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